924 F.2d 1052Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nathaniel JOHNSON, Jr., Petitioner-Appellant,v.Eugene NUTH, Warden, Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 90-6418.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 31, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey, II, Chief District Judge.  (CA-90-1696-H)
      Nathaniel Johnson, Jr., appellant pro se.
      Joan Louise Bossmann, Office of the Attorney General of Maryland, Baltimore, Md., for appellees.
      D.Md.
      DISMISSED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Nathaniel Johnson, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Johnson v. Nuth, CA-90-1696-H (D.Md. Oct. 15, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    